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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

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UNITED STATES OF AMERICA /
SED] ORDER

-V-

BILAL SALAJ, : 20 Cr. 586 (PKC)

Defendant.

WHEREAS, with the defendant’s informed written consent, his guilty plea
allocution was made telephonically before a United States Magistrate Judge on October 29, 2020;

WHEREAS, the plea allocution was conducted telephonically because video
teleconferencing was not reasonably available;

WHEREAS, a transcript of the allocution was made and thereafter was transmitted
to the District Court; and

WHEREAS, upon review of that transcript, this Court has determined that the
defendant waived indictment and entered the guilty plea knowingly and voluntarily and | that there

was a factual basis for the guilty plea;

IT iS HEREBY ORDERED that the defendant’s waiver of indictment and guilty

 

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pledfare accepted,
SO ORDERED;

Dated: New York, New York
Jo ip , 2020

 

 

THE HONORABLE P P. KEVIN CASTE
UNITED STATES DISTRICT JUDGE
SOUTHERN DISTRICT OF NEW YORK

 
